                                                                                        Motion GRANTED.
                          UNITED STATES DISTRICT COURT                                  Hearing reset to
                      FOR THE MIDDLE DISTRICT OF TENNESSEE                              11/14/12 at 1:00 p.m.
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )
                                               )
           v.                                  )       No. 3:10-00215-6
                                               )       Hon. Aleta A. Trauger
                                               )
JEFFREY WAYNE CONNER                           )


                SECOND UNOPPOSED MOTION TO CONTINUE SENTENCING

        Comes now the defendant, Jeffrey Wayne Conner, by his court-appointed counsel,

William I. Shockley, and moves this Honorable Court to continue the sentencing for 30 days

from October 4, 2012 to a date convenient to the Court. In support of this motion, the defendant

says:

        From three different sources in the Bureau of Prisons, the defendant has received three

different estimates of the minimum sentence that would permit entry into the BOP Residential

Drug Abuse Program. The most recent estimate of 23 months was received yesterday from a

BOP employee during the Public Defender’s annual business and training program. It is in the

defendant’s best interest that he continue to seek the best available drug treatment, and resolution

of this conflicting information is required prior to sentencing. Since the defendant’s last court

appearance in July, he has added two Narcotics Anonymous meetings each week to his treatment

regimen.

        On October 4, 2012, undersigned counsel spoke with AUSA Blanche Cook who stated

the government had no objection to the sentence being continued as requested.

        WHEREFORE the defendant respectfully requests this Honorable Court to continue the


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